       Case 1-18-46141-ess                Doc 25       Filed 02/08/19   Entered 02/08/19 10:20:59




                                                               tmd3574/db
                                                               Return Date & Time:
                                                               FEBRUARY 25, 2019 9:00 AM


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 118-46141-ESS
IN RE:
                                                               NOTICE OF MOTION
KELVIN D. PAYTON,

                                       Debtor
-----------------------------------------------------------X




                   PLEASE TAKE NOTICE, that upon the within application, the Chapter 13 Trustee
will move this court before the Honorable Elizabeth S. Stong, U.S. Bankruptcy Judge, at the
United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York, Courtroom 3585
on FEBRUARY 25, 2019 at 9:00 AM, or as soon thereafter as counsel can be heard, for an Order
pursuant to 11 U.S.C. Section 1307(c) for cause, dismissing this Chapter 13 case and for such
other and further relief as may seem just and proper.
                   Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.



Date: Jericho, New York
      February 8, 2019

                                                               /s/ Marianne DeRosa
                                                               MARIANNE DeROSA, TRUSTEE
                                                               125 JERICHO TPKE, SUITE 105
                                                               JERICHO, NEW YORK 11753
                                                               (516) 622-1340
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK                                            FEBRUARY 25, 2019
                                                                        9:00 AM
----------------------------------------------------------X
IN RE:                                                                  Chapter 13 118-46141-ESS

KELVIN D. PAYTON,                                                       APPLICATION

                                       Debtor.
-----------------------------------------------------------X

TO THE HONORABLE ELIZABETH S. STONG, U.S. BANKRUPTCY JUDGE:

       Marianne DeRosa, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on October 25,
2018, and, thereafter, Marianne DeRosa was duly appointed and qualified as Trustee.

        2. The Debtor’s proposed Chapter 13 Plan, (hereinafter “The Plan”), dated and filed with
the Court on November 8, 2018, and reflected in the Court’s docket as number 15 provides for a
monthly Plan payment of $100.00 per month for a period of 60 months, along with the proposed
monthly mortgage payment of $3,217.95 per month while loss mitigation is pending. Additionally,
The Plan provides for full repayment to all filed secured and priority proofs of claim, as well as a
pro rata distribution to general unsecured proofs of claim.

         3. As of the date of this motion, the Debtor has failed to:

                   a. provide the Trustee with a copy of an affidavit by the Debtor stating the Debtor
                      has paid all amounts that are required to be paid under a domestic support
                      obligation or that the Debtor has no domestic support obligations as required
                      by E.D.N.Y. LBR 2003-1(b)(ii)(A) and (B);

                   b. provide the Trustee with a copy of affidavit from the Debtor stating whether the
                      Debtor has filed all applicable federal, state and local tax returns under the
                      Bankruptcy Code Section 1308 as required by E.D.N.Y. LBR 2003-1(b)(iii);

                   c. file the original affidavits with the Court as required under subdivisions (b)(ii)
                      and (iii) as required by E.D.N.Y. LBR 2003-1(c).

                   d. provide the Trustee with a copy of a federal income tax return or transcript for
                      the most recent year 7 days before the first meeting of creditors pursuant to 11
                      U.S.C. § 521(e)(2)(A)(i)

                   e. commence making Chapter 13 plan payments to the Trustee as required by
                      11 U.S.C. § 1326(a)(1), and is $9,953.85 in arrears through and including
                      January 2019.
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        4. The Plan cannot be confirmed and as a result a delay has occurred that is
prejudicial to the rights of creditors. The case must be dismissed under 11 U.S.C. § 1307(c)(1)
and (c)(5).

      5.    Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order denying confirmation and dismissing this Chapter 13 case and such other and further relief
as may seem just and proper.

Dated: Jericho, New York
       February 8, 2019
                                                    /s/ Marianne DeRosa
                                                     Marianne DeRosa, Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 118-46141-ESS
IN RE:

KELVIN D. PAYTON,
                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X


               This is to certify that I, DANI M. BOYER, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

KELVIN D. PAYTON
114-16 173rd STREET
JAMAICA, NY 11434

NORMA E. ORTIZ, ESQ.
32-72 STEINWAY STREET, STE 402
ASTORIA, NY 11103

WELLS FARGO BANK, NA
C/O WOODS, OVIATT, GILMAN, LLP
700 CROSSROADS BLDG
TWO STATE STREET
ROCHESTER, NY 14614




This February 8, 2019

/s/DANI M. BOYER
DANI M. BOYER, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
125 Jericho Tpke, Suite 105
Jericho, New York 11753
(516) 622-1340
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
IN RE:

KELVIN D. PAYTON,


Debtor.

                       NOTICE OF MOTION, APPLICATION
                                    and
                          CERTIFICATE OF SERVICE




                           MARIANNE DeROSA, TRUSTEE
                           125 JERICHO TPKE, SUITE 105
                            JERICHO, NEW YORK 11753
                                  (516) 622-1340
